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 1    GREGORY NICOLAYSEN
      State Bar No. 98544
 2    27240 Turnberry Lane, Suite 200
      Valencia, CA 91355
 3    Cell: (818) 970-7247
      Fax: (661) 252-6023
 4    Email: gregnicolaysen@aol.com
 5    Counsel For Defendant,
      Daniel Flint
 6
 7
                               UNITED STATES DISTRICT COURT
 8
                            CENTRAL DISTRICT OF CALIFORNIA
 9
                                     WESTERN DIVISION
10
11    UNITED STATES OF AMERICA,        )         CR 17 - 00697 - 1 - SJO
                                        )
12                                      )
                       Plaintiff,       )        SENTENCING POSITION PAPER
13                                      )        FILED BY DEFENDANT
                                        )
14    vs.                              )         DANIEL FLINT
                                        )
15                                      )        Date: September 16, 2019
                                        )
16    DANIEL FLINT,                    )         Time: 10:00 a.m.
                                        )        Court: The Hon. S. James Otero
17                                      )
                       Defendant       )
18                                      )
      _________________________________)
19
            Defendant Daniel Flint hereby submits his sentencing position paper, including
20
      any objections to the Presentence Report (“PSR”).
21
22
      DATED: August 21, 2019                      Respectfully Submitted,
23
24
                                                  By:__________/S/_______________
25
                                                          GREGORY NICOLAYSEN
26                                                        Counsel for Defendant,
                                                          Daniel Flint
27
28
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 1
 2          MEMORANDUM OF POINTS AND AUTHORITIES RE: SENTENCING
 3
 4                                                   I.
 5                                         INTRODUCTION
 6
 7          A.      Opening Statement
 8          Defendant Daniel Flint, a 36-year old U.S. citizen1 who is a licensed attorney in
 9    two states with an active practice; has a substantial amount of support from family and
10    friends; and has complied fully with all bail conditions for the past two years, now
11    comes before this Court for sentencing after having been convicted at trial on the one
12    count Indictment charging him with entering an airport area in violation of security
13    requirements, under 49 U.S.C. §§ 46314(a), (b)(2).
14          For the reasons discussed herein, Mr. Flint respectfully asks this Court to
15    impose a sentence of probation that includes a condition of home detention, pursuant
16    to an advisory guideline range of 0 - 6 months.2
17
18          B.      Release Status
19          On October 18, 2017, Mr. Flint made his initial appearance before the duty
20    magistrate, at which time he was granted an unsecured appearance bond, which was
21    posted the same day.3 He has been on bond since that date, a period of nearly two
22
23      1
            PSR at page 3.
24      2
            PSR at page 4 (advisory range is 0 - 6 months).
25
        3
             Pacer docket #5, 9. The statute of conviction, 49 U.S.C. §§ 46314(a), (b)(2), carries a
26   ten-year maximum. As such, it is a Class C felony. 18 U.S.C. 3559(a)(3). This makes Mr. Flint
27   eligible for a sentence of probation, which is precluded by statute only for Class A and B felonies,
     or where the statute of conviction expressly precludes probation. 18 U.S.C. 3561(a)(1), (2). The
28   statute of conviction here does not by its terms preclude a sentence of probation.

                                                     2
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 1    years. The PSR confirms that Flint has complied fully with conditions of bond.4
 2
 3                                                  II.
 4                              OBJECTIONS AND CORRECTIONS
 5                               TO THE PRESENTENCE REPORT
 6
 7           Identifying Data: PSR at page 3:
 8                  1.     The last four digits of the SSN are incorrect. Correct as: 3537
 9                  2.     Home address is incorrect (outdated). Correct as: 1508 Poolside
10                         Lane, Apt 208, Charlotte, NC 28208. This correction should be
11                         made to both the “Legal Address” and “Residence Address”
12                  3.     Alias section is incorrect. Flint does not have any aliases. The
13                         name Chappell is his middle name. The PSR should remove
14                         references to any alias.
15
16           Part A: The Offense
17
18                  (A)    Offense Conduct Summary: par. 7, page 5, to par. 16, page 7:
19                  1.     Par. 7, page 5: Objection to the sentence: “Flint was not a
20    diplomatic courier nor has the IHRC (a purported international organization based
21    out of a P.O. Box in Pakistan) ever been recognized by the U.S. Department of State.”
22                                Objection #1 and motion to strike: The word, “purported”
23    should be removed because the IHRC is an international organization. While the
24    documents presented by Mr. Flint at the airport may not have been bona fide
25
26
27      4
            PSR at par. 5, page 5 (“According to Flint’s supervising officer, Flint has been compliant
28   with the terms of his release.”).

                                                      3
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 1    diplomatic instruments, the IHRC is an active organization with a web site located at:
 2    https://www.ihrchq.org/ Selected pages from the web site, including the home page,
 3    list of selected offices, and partial list of ambassadors, is attached hereto as Exhibit 1.
 4                                Objection #2 and motion to strike: the phrase, “based out of
 5    a P.O. Box in Pakistan” should be removed. This remark is contradicted entirely by
 6    the IHRC web site which lists offices in multiple countries.
 7
 8                  2.     Footnote 1, page 6: Objection to the sentence and motion to strike:
 9                         “It is unclear whether Flint also manufactured, or participated in
10                         the manufacturing, of the document itself.” This sentence invites
11                         speculation and innuendo that Mr. Flint may have manufactured
12                         the subject documents. He did not. The government did not
13                         present any evidence at trial regarding manufacturing. During his
14                         interview with the FBI, Flint admitted laminating one document.
15                         That procedure is nothing more than covering the card with a
16                         plastic film to provide insulation. Laminating is not the same as
17                         manufacturing. But the government jumped on this innuendo in
18                         the PSR as an opportunity to argue that Flint did in fact
19                         manufacture documents, which is a clear misrepresentation of the
20                         evidence by the government.5
21
22                  3.     Par. 16, page 7 and motion to strike: remove the sentence, “A Drug
23    Enforcement Administration (“DEA”) drug canine positively alerted to the funds, and
24    the cash was thereafter seized by DEA.” There was no evidence of this at the trial, and
25    it is irrelevant to the charge in the indictment. This is not a narcotics prosecution.
26
27
28      5
            Government sentencing position at page 6, lines 6 - 7.

                                                    4
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 1                 (B)    Adjustment for Acceptance of Responsibility
 2                 Par. 19, page 7: the PSR states, “Flint also identified a lawyer he worked
 3    with, Douglas Hampton (Hampton), who Flint asserted was also a diplomat for the
 4    IHRC.” While current CJA counsel was not present at the presentence interview
 5    because Mr. Flint was still being represented by the Federal PD Office at the time,
 6    there is no question that during the interview, Flint emphasized to the Probation
 7    Officer that Hampton was Flint’s law professor who served as Flint’s mentor and who
 8    personally recruited Flint to serve in the perceived diplomatic capacity. This is a
 9    critical point that surprisingly has been omitted from the PSR.
10          Many of the letters submitted to this Court, which are discussed in the section
11    3553 portion of this brief, make reference to Hampton’s role as Flint’s mentor in law
12    school and the disillusionment of finding out that Hampton had been the one to bring
13    Flint into this venture. The Court should therefore note that the summary of the
14    presentence interview in this section of the PSR is lacking critical information that was
15    provided by Flint during the interview.
16
17                 Footnote 4, page 8: this entire footnote should be stricken, as it exceeds
18    the evidence in the trial record and lacks foundation.
19
20                 (C)    Offense Level Computation: par. 21, page 8, to par. 38, page 10:
21
22                        Adjustment For Role In The Offense: pars. 28-30:.
23                        Mr. Flint objects to the (+2) enhancement under the Abuse Of
24    Trust guideline, USSG §3B1.3. The enhancement is based on the notion that Flint
25    “Flint abused his specialized skill and status as an attorney ‘in a manner that
26    significantly facilitated the commission or concealment of the offense.’” (quoting the
27    guideline section). This is not the case. While Flint did disclose that he was an
28    attorney, the pivotal factor that influenced the TSA officials at both O’Hare and
                                                  5
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 1    Midway airports in Illinois in regard to whether Flint would be allowed to board the
 2    flight without undergoing security screening was the documentation that he provided
 3    purporting to be diplomatic credentials. The bottom line is that the decisions were
 4    made entirely on the basis of the documentation, not whether he was an attorney.
 5           At trial, the government called witness Christopher Kotula, a TSA security
 6    officer at O’Hare International Airport in Chicago.6 He testified about his interactions
 7    with Mr. Flint at the airport in July 2017, who presented the documentation at issue to
 8    TSA officials. Mr. Kotula described his concerns regarding the inadequacy of Mr.
 9    Flint’s documentation, including the fact that Flint did not have a diplomatic passport.
10    Ultimately, Mr. Flint was rejected at O’Hare. The entire thrust of the assessment
11    made by TSA, including the intervention of Kotula's supervisor, which led to Flint’s
12    rejection at O'Hare, was the inadequacy of the documentation. The fact that Flint was
13    an attorney, which Flint mentioned to TSA, was inconsequential and was not at all
14    referenced by Mr. Kotula as a pivotal factor in TSA’s decision.
15           The government also called Mr. Clay Yoksas, a TSA supervisor at Midway
16    airport, who interacted with Mr. Flint on July 20, 2017.7 Mr. Yoksas testified that
17    Flint presented the documentation at issue, which TSA accepted on that date; and he
18    was allowed to pass through security without undergoing screening. Mr. Yoksas'
19    testimony did not indicate that Flint presented any identification as an attorney; only
20    the documentation at issue, not that Flint identified himself as an attorney. In short,
21    TSA relied entirely on the documentation at issue at Midway airport on July 20, 2017.
22           In addition, the government called Ms. Raja Wondrasek, a TSA security
23
24      6
            Mr. Kotula was the government’s first witness, on the first day of trial (October 16, 2018).
25   Attached hereto as Exhibit B are relevant portions from the transcript of Mr. Kotula’s testimony.
     The transcript of Trial Day #1 is available on Pacer at docket #117.
26
27      7
            Attached hereto as Exhibit C are relevant portions from the transcript of Mr. Yoksas’
28   testimony from Trial Day #1.

                                                    6
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 1    manager at Midway airport at the time of the events, who interacted with Mr. Flint on
 2    July 25, 2017, the date when TSA at Midway allowed Flint to board the flight to LAX
 3    and subsequently notified the FBI, who met Flint upon his arrival and conducted the
 4    recorded interview with Flint at LAX.8 Ms. Wondrasek testified that on July 25, she
 5    consulted with her supervisor, Joe Stone, to jointly review the documentation provided
 6    by Flint regarding the pouch to determine if it met the requiremenets for diplomatic
 7    transport. While Flint did present his bar card, the testimony by Ms. Wondrasek
 8    focused entirely on the issue of the adequacy of the documentation at issue. During
 9    direct examination, Wondrasek described her actions with supervisor Stone as
10    surveillance videotape from the airport was being played to the jury:9
11
12                  Q Can you generally describe what was going on in the last
13                  20 seconds.
14                  A So I'm talking to Joe Stone, verifying that the numbers
15                  coincide with the numbers that are on the letter, the letters
16                  match up on the diplomatic pouch, and I was looking at his
17                  identification. So I'm just basically making sure that all -- he
18                  has all the documentation that was required.
19                  Q So is one of the things that TSA agents are trained in is to
20                  match to make sure different numbers line up with different
21                  forms of identification?
22                  A Correct.
23                  Q And to make sure that names are the same on different
24                  identification documents?
25
26      8
            Attached hereto as Exhibit D are relevant portions from the transcript of Ms. Wondrasek's
27   testimony from Trial Day #2.

28      9
            Exhibit D at pages 39 - 40.

                                                   7
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 1                 A Correct, yes.
 2                 Q Is that why you were -- is there something, I guess, specific
 3                 in the Standard Operating Procedures regarding diplomatic
 4                 pouches that require you to confirm all those numbers, or is
 5                 it something that you're just generally trained in?
 6                 A There is something in the SOP and also what we're trained
 7                 on. So anyone that has a diplomatic pouch, it has to be
 8                 annotated on the documentation. It has to say "Diplomatic
 9                 pouch." The number on the diplomatic pouch has to match
10                 the same number on the courier letter, as well as I believe
11                 there's another number that goes on there as well.
12                               *      *      *
13                 A So once I reviewed the documents one last time and Joe
14                 and I agreed that everything was there, I proceeded to tell
15                 Mr. Flint that he would have to go through screening, all of
16                 his carry-ons, and we would hand him the diplomatic pouch
17                 on the other side. That was the only thing that would not go
18                 through screening.
19
20          The testimony of Ms. Wondrasek clearly shows that what drove the decision by
21    TSA officials to allow Mr. Flint to bypass screening at Midway on July 25, 2017 was
22    the documentation at issue. The reason TSA allowed the pouch to be taken aboard the
23    flight at Midway for LAX on July 25 without undergoing security screening was
24    because Ms. Wondrasek and her supervisor studied the documentation provided by
25    Flint, cross-checked it to their security regulations; and at that point in time, they were
26    satisfied the documentation was satisfactory. They did not cut Flint any slack or take
27    any shortcuts in the assessment process due to Flint’s status as an attorney. Indeed,
28    Flint’s status as an attorney had no bearing whatsoever on TSA’s decision at Midway
                                                   8
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 1    on July 25.
 2          Accordingly, the enhancement for abuse of position of trust should not be
 3    imposed.
 4          The PSR misplaces reliance on United States v. Christensen, 828 F.3d 763 (9th
 5    Cir. 2016), a case that went to trial before Judge Fischer in this district. In that case,
 6    defendant Christensen was a well-known attorney in Los Angeles who was charged in
 7    in a scheme to utilize illegal wiretapping services by codefendant Anthony Pellicano.
 8    The Ninth Circuit held that it was not clearly erroneous for the district court to impose
 9    the abuse of position of trust enhancement where defendant Christensen utilized
10    Pellicano’s illegal wiretapping services specifically in connection with Christensen’s
11    service as an attorney for a client in a child custody dispute.
12          In upholding the enhancement, the Circuit expressly observed the crucial factor
13    of the attorney - client relationship in engaging the illegal services provided by
14    Pellicano, and thus the abuse of Christensen's role and position of trust as an attorney:
15
16                  The motivation to wiretap Bonder was directly related to
17                  Christensen's representation of Kerkorian in his child
18                  support dispute with Bonder. Christensen directed Pellicano
19                  based on what Christensen knew as Kerkorian's attorney in
20                  that dispute. Payment to Pellicano's firm initially came from
21                  Christensen's firm. Christensen's status as Kerkorian's
22                  attorney and the commission of the offenses for which he
23                  was convicted—one count of conspiracy to intercept and use
24                  wire communications and one count of interception of wire
25                  communications—were not coincidental. It seems likely that
26                  the wiretapping of Bonder would not have occurred but for
27                  Christensen's involvement as the attorney for Kerkorian,
28                  and it is almost certainly the case that the conspiracy to
                                                   9
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 1                  intercept that included Christensen would not have
 2                  happened otherwise.
 3     Christensen, supra, 828 F.3d at 817.
 4           The facts of this case are clearly distinguishable from those in Christensen.
 5     Here, the fact that Mr. Flint was an attorney was incidental to the assessment at
 6     O’Hare and Midway airports as to whether the pouch would be allowed to bypass
 7     security screening. While Flint mentioned to TSA that he is an attorney, the focus of
 8     their assessment, as reflected in the testimony referenced above, was on the adequacy
 9     of the documentation in relation to TSA’s standards for clearing diplomatic pouches
10     from security screening.
11           Therefore, this Court should sustain the objection to, and thereby reject, the 2-
12     level enhancement in the PSR for abuse of a position of trust.
13
14                  Defendant’s Position Re: Adjusted Offense Level
15           Based on the discussion above, Mr. Flint respectfully requests that the Court
16     find that the Adjusted Offense Level is 6. The defense agrees that the applicable
17     sentencing guideline section is USSG §2B2.3.10
18           The defense agrees with the following guideline calculations in the PSR:
19
20                  Base Offense Level                       4
21                  Secure area of airport                  +2 [USSG §2B2.3(b)(A)(iv)]
22
23           Whereas par. 32, at page 8, of the PSR finds an Adjusted Offense Level 8, the
24     defense requests a Level 6. Both levels carry the same 0 - 6 month advisory range.
25
26
27
28      10
             PSR at par. 25, page 9.

                                                 10
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 1            Part B: Criminal History: par. 39, page 8, to par. 51, page 11.
 2            No objections. The defense agrees that Mr. Flint is a Category I.11
 3
 4            Part C: Offender Characteristics: par. 62, page 13, to par. 92, page 17.
 5            There are no objections to Part C of the PSR.
 6
 7
 8                                                   III.
 9                      A SENTENCE OF PROBATION WITH CONDITIONS
10                            THAT INCLUDE HOME DETENTION AND
11                             COMMUNITY SERVICE, IS SUFFICIENT,
12                             BUT NOT GREATER THAN NECESSARY,
13                          TO COMPLY WITH THE STATUTORY PURPOSES
14                            OF SENTENCING UNDER 18 U.S.C. 3553(a)
15
16            Section 3553(a)(1): Nature And Circumstances Of The Offense
17                    (1)     A Little-Known Statute With A Nominal Base Offense Level And
18                            No Links To Other Felony Statutes
19            This case involves an arcane statute, 49 U.S.C. §§ 46314, that is rarely if ever
20     seen in this district.12 The statute is entitled, “Entering aircraft or airport area in
21     violation of security requirements,” which states in pertinent part:
22                    “A person may not knowingly and willfully enter, in
23                    violation of security requirements prescribed under section .
24                    . . . an airport area that serves an air carrier or foreign air
25                    carrier.”
26
         11
27            PSR at par. 46, page 13.

28       12
              The statute is enclosed as Exhibit E for the Court’s convenience.

                                                     11
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 1           As the PSR makes clear, the applicable sentencing guideline for the statute
 2     carries a Base Offense Level 4, one of the lowest BOL’s in the guideline manual. This
 3     low BOL reflects the simple fact that the statute does not apply to national security
 4     offenses; nor narcotics trafficking offenses; nor money laundering offenses. The
 5     government should not be allowed to bootstrap this statute into being something more
 6     serious than it is, which is exactly what they are trying to do in seeking an above-
 7     guidelines sentence.
 8           If the government had evidence that the offense conduct directly related to
 9     another felony offense, then the government should have so charged the case.
10
11                  (2)    Neither The Probation Office Nor Government Has Requested
12                         That The Court Apply The Cross-Referencing Provision In USSG
13                         2B2.3 To Another Felony Guideline, Which Confirms That Flint’s
14                         Offense Conduct Was Not Undertaken To Further Any Other
15                         Felony Offense
16           Neither the PSR nor government has suggested that the offense conduct in this
17     case was committed for the purpose of committing another felony offense, so as to
18     invoke the application of the guideline for that other felony offense. The government
19     has no such evidence of any other applicable felony, and none was offered at trial.
20           In this context, it is important to note that neither the government nor the PSR
21     make any suggestion to this Court that the cross-referencing provision in the
22     applicable guideline, USSG 2B2.3, should be utilized to apply another guideline section
23     that reflects another felony offense, so as to subject Mr. Flint to a higher offense level
24     calculation. The cross-referencing language in USSG 2B2.3 states:
25
26
27
28

                                                   12
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 1                   (c)     Cross Reference
 2                   (1)     If the offense was committed with the intent to
 3                   commit a felony offense, apply §2X1.1 (Attempt, Solicitation,
 4                   or Conspiracy) in respect to that felony offense, if the
 5                   resulting offense level is greater than that determined above.
 6
 7            If the government had any evidence to link Mr. Flint’s actions to another felony
 8     offense such as money laundering, or conspiracy to further narcotics trafficking, then
 9     the government should either have charged those offense — or at the very least,
10     invoked the cross-referencing provision of USSG 2B3.2. Its failure to do so is no small
11     omission. It is a clear admission by the government that this case stands alone as a
12     violation of the statute charged, 49 U.S.C. §§ 46314, and that the sentencing should
13     therefore remain squarely within the 0 - 6 range applicable to that statute.
14
15                   (3)     Mr. Flint Was Issued A CVB Violation Notice For A Misdemeanor
16                           After The FBI Interview On July 25, 2017
17            This case began with a misdemeanor Central Violations Bureau (CVB)13
18     violation issued to Mr. Flint on July 25, 2017 at the conclusion of the interview at LAX,
19     by FBI agent Rebecca Marriott, the same agent who conducted the interview. The
20     violation notice, a copy of which is attached hereto,14 cites Mr. Flint for violating 18
21     U.S.C. 1036,15 a misdemeanor statute entitled, “Entry by false pretenses to any real
22     property, vessel, or aircraft of the United States or secure area of any airport or
23     seaport,” carrying a maximum six month custody term. While the statute has a felony
24
25       13
              The CVB web site is part of the U.S. Courts web sites and can be found at this address:
      https://www.cvb.uscourts.gov/
26
         14
27            Exhibit F.

28       15
              A copy of 18 U.S.C.S. § 1036 is attached hereto as Exhibit G.

                                                     13
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 1     provision “if the offense is committed with the intent to commit a felony,” the fact that
 2     Flint was being issued a CVB notice clearly means that he was being cited for a
 3     misdemeanor, as the CVB proceedings apply specifically to misdemeanors and are
 4     conducted by Magistrates.
 5           Thus, from the outset of this case, the government has never taken the position
 6     that Flint’s offense conduct was being undertaken with intent to commit a felony.
 7
 8                  (4)    Mr. Flint Told Agent Marriott During The July 25 Interview That
 9                         The Pouch Contained Cash. He Therefore Knew That There Was
10                         No Risk To Airline Safety In Allowing The Pouch To Bypass
11                         Security Screening, And Thus No Risk To National Security
12           Attached hereto are excerpts from the government’s transcript of the recorded
13     interview that FBI agent Rebecca Marriott conducted with Mr. Flint at LAX after he
14     was escorted off the plane upon arriving on his flight from Chicago-Midway airport.16
15     In the interview, Flint expressly tells agent Marriott that the pouch contains cash.
16           Thus, this is a case in which Flint knew from the outset that he would not in any
17     way subject passengers, crew or the airline itself to any risk of harm if the pouch
18     bypassed security screening.
19           For the reasons discussed above, a sentence of probation with conditions of
20     home detention is consistent with Mr. Flint’s offense conduct and the statutory
21     purposes of punishment under section 3553.
22
23
24
25
26
27
28      16
             Exhibit H.

                                                  14
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 1           Section 3553(a)(1): History And Characteristics Of The Individual
 2
 3                   (1)   Mr. Flint Has Substantial Support From Family And Friends
 4                         Which Speaks To His Excellent Character And Confirms That He
 5                         Is Worthy Of A Non-Custodial Sentence
 6           Mr. Flint has received excellent support in connection with this sentencing
 7     proceeding. Attached hereto are letters attesting to the professional and intellectual
 8     respect, as well as the emotional support, that he is privileged to have. Each letter
 9     speaks to Mr. Flint's extraordinary kindness and selfless generosity, reflecting a
10     recognition that Flint’s offense conduct does not represent his true character and is
11     truly aberrational. The letters also reveal the trauma that Flint and his family have
12     suffered as the result of this prosecution. Relevant excerpts are quoted below.
13           Mr. Flint has the privilege of coming before this Court with strong support from
14     his family. Both his mother (Gayle Flint) and father (Timothy Flint), who are divorced
15     but nonetheless close partners in parenting within a tight-knit family, have supported
16     Mr. Flint since his initial appearance before the duty magistrate nearly two years ago.
17     In his letter, Timothy Flint, now retired from the Michigan Department of Agriculture
18     after a career as the Deputy Director of the Pesticide and Plant Pest Management
19     Division, attests to the strong moral foundation of the family and Flint's upbringing
20     based on principles and standards:17
21
22                   Besides a close family, Danny grew up with men of character
23                   and integrity. From an early age, Danny was a participant
24                   in annual hunting, fishing and hiking adventures with my
25                   friends, men of integrity, some of whom have been together
26                   for over 40 years.
27
28      17
             Exhibit I.

                                                  15
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 1            Reflecting the solemnity of a parent who has been deeply affected by the events
 2     of this case, the letter from Flint’s father makes clear that Flint himself has suffered
 3     from this case and that there is no risk of recidivism, all the while the family
 4     maintaining its highest respect and confidence for Flint notwithstanding what has
 5     happened here:
 6
 7                    These past months have weighed heavily on Dan, and all his
 8                    family and friends. Obviously, this situation will never
 9                    happen again, and Dan's future efforts will be focused on
10                    reinstatement of his license to practice law in the hopes of
11                    moving forward with his life.
12
13                    What Dan will never lose, is the trust and support of his
14                    family and friends.
15
16            Like his father, Mr. Flint’s mother speaks in detail of Mr. Flint's upbringing in
17     a family of educators who maintained solid values and standards. Aware that Flint
18     was recruited into the “diplomatic courier” activity by one of his law school professors,
19     Douglas Hampton, she states in her letter:18
20
21                    I watched as he studied hard in law school. I watched him as
22                    he spent endless hours preparing for the bar. I watched, and
23                    celebrated with him, as Douglas Hampton presented him to
24                    the judge to be sworn in as an attorney. I know that Daniel
25                    would never purposefully do anything to jeopardize his law
26                    license or law career.
27
28       18
              Exhibit J.

                                                      16
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 1                   It was an unfortunate lesson Daniel learned, but he is no
 2                   longer the young, trusting law student that he once was. An
 3                   occurrence like this will never happen again.
 4
 5            Mr. Flint’s family support for this sentencing proceeding is widespread. One of
 6     his uncles, Edward Byrnes, who has known Mr. Flint his entire life, expresses praise
 7     for Flint’s dedication to develop a career as an attorney and the high level of respect
 8     others have for him, together with the shock of what has happened in this case, as it is
 9     entirely out of character with the values of his family and Flint’s overall commitment
10     in life. Mr. Byrnes’ letter states in part:19
11
12                   Dan has worked hard at his jobs and education to become
13                   first a teacher and then a lawyer, everyone in the family is
14                   proud of Dan. Dan is family oriented, his nieces, nephews,
15                   aunts, uncles, and grandparents (when they were alive) love
16                   and loved him. Dan's many friends also love and respect
17                   him. Dan is a positive person, an upstanding citizen, he and
18                   willing to help whenever help is needed. Dan is a very good
19                   person and it would be very out of character for him to
20                   knowingly break the law in any way. It is so out of character
21                   for Dan to be in any kind of trouble that his entire family,
22                   I'm sure his friends too, were completely stunned when
23                   informed of his unfortunate predicament.
24
25                   I still find it hard to believe. Judge Otero, being in legal
26                   trouble has never happened in our family. We have all been
27
28       19
              Exhibit K.

                                                       17
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 1                  brought up to value and respect the law. As a family, it is our
 2                  first nature and as a member of this family I believe it is the
 3                  top priority for Dan. Dan would not knowingly break the
 4                  law so I think he believed what he was doing was legal. I
 5                  believe he may have been misled by his employer and law
 6                  school mentor Douglas Hampton. Misplaced trust is always a
 7                  hard lesson and I know in my heart of hearts Dan has
 8                  learned and will remember what he has learned the rest of
 9                  his productive life. Dan has a lot to give and I believe he is
10                  and will be a productive member of society.
11
12           The same praise and respect is reflected in the letter submitted by another
13     uncle, James Byrnes, who has also known Mr. Flint his entire life. Echoing the letters
14     submitted by Mr. Flint’s parents and Edward Byrnes, James Byrnes points to Flint’s
15     good character as he was raised in a family of educators with solid values:20
16
17                  I have two sons who are very close with Danny. He has been
18                  a wonderful cousin and role model to them. He did well in
19                  school and being the older cousin, always looked out for
20                  them. To this day they remain very close. We are a family of
21                  educators and just like my boys, Danny followed in the
22                  family tradition. He went to Western Michigan University
23                  and graduated with an education degree.
24
25           James Byrnes is among the many family members who has observed the
26     emotional turmoil and remorse that Flint has undergone as the result of this case:
27
28      20
             Exhibit L.

                                                   18
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 1                  I am very close with Danny and I can see the sorrow and
 2                  remorse he has for putting his parents and the family
 3                  through this. We are a tight nit family and have lived
 4                  through this nightmare together.
 5
 6           Meghan DeCarlo, Mr. Flint’s sister, who has followed in the family tradition of
 7     pursuing a career in teaching with a Masters Degree from Michigan State University
 8     and post-graduate credentials, speaks eloquently of the upbringing she and Mr. Flint
 9     received in a family of educators with solid values, and how Mr. Flint grew into a
10     person of genuine character. Like others, she sees this case as the result of
11     misdirection at the hands of an unscrupulous law school professor who recruited Flint
12     into the “diplomatic” project that led to this case. Retaining her genuine faith in
13     Flint's commitment to legal standards and principles, Ms. DeCarlo makes clear the
14     impact this case has had on her brother and his remorse for his actions:21
15
16                  The losses Dan has experienced this year reach far beyond
17                  his days in court. He has expressed his deepest remorse over
18                  what happened and he wishes he would have investigated
19                  further; however, that is behind us now.
20
21           Echoing the respect the family has for Mr. Flint, Tim DeCarlo, the husband of
22     Flint's sister, Meghan DeCarlo, speaks passionately about Flint's commitment to do
23     good things in life and the family's enthusiasm for him when he became an attorney,
24     knowing his character to help others:22
25
26
        21
27           Exhibit M.

28      22
             Exhibit N.

                                                  19
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 1                  Over the years, I witnessed Dan as a young student in the
 2                  college of education at Western, to a law school student at
 3                  Oakland University, Detroit School of Law. The entire
 4                  family was so proud and supportive of him when he officially
 5                  became a practicing attorney and friend to many.
 6
 7           Likewise, many long-term friends of the family have submitted letters
 8     acknowledging Mr. Flint’s good character, dedication as a young attorney, remorse for
 9     his actions, and the effects this case has had on him. A good example is the lengthy
10     letter submitted by Keith Creagh, a now-retired former Director at the State of
11     Michigan's Dept of Natural Resources who has known Mr. Flint his entire life as a
12     friend of the family for over forty years. Mr. Creagh's letter provides a detailed,
13     in-depth perspective on Mr. Flint’s good character throughout his life, commenting on
14     good deeds Flint would do as a child that Creagh always found impressive:23
15
16                  Even though he [Flint] was physically superior, there was no
17                  sign of bullying or intolerance. I could trace his sound
18                  character back to numerous dad/kid camping weekends
19                  where he did his share and more around the campsite, or the
20                  assistance he provided to others who needed help or his
21                  experience cooking for the crew. You get to know a person
22                  when you spend time together out in the natural resources
23                  and appreciate what they value.
24
25
26
27
28      23
             Exhibit O.

                                                  20
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 1           Mr. Creagh’s positive comments apply equally to his views of Mr. Flint as a
 2     professional:
 3
 4                     I have also known Dan in the work setting. Dan was
 5                     employed by the Michigan Department of Agriculture as a
 6                     fruit and vegetable inspector. Dan's job was to verify the
 7                     quantity and quality of fresh farm product as it entered the
 8                     processing stream. In that job, he needed high standards of
 9                     integrity and honesty. He was integral in the process to make
10                     sure farmers got fair compensation for their product. This
11                     job also helped him develop his facilitation and conflict
12                     resolution skills because there were differences of opinion on
13                     the net worth of the product. This position also demanded
14                     long hours and a need to show up and stay on the job until
15                     the work was completed. He did this all without direct
16                     on-site supervision.
17
18           Reflecting the views of others who have submitted letters, Mr. Creagh retains
19     his high respect for Mr. Flint notwithstanding the events in this case:
20
21                     Regardless of how we got to where we are today, I can state
22                     with great confidence that Dan Flint has learned many
23                     tough, but evidently necessary, lessons. Don't trust people on
24                     face value, conduct your own due diligence, and always
25                     question the motives of others. Dan has privately expressed
26                     both remorse and dismay for the incident and court
27                     proceedings. I am certain that he will not find himself in a
28                     similar situation in the future. If the court could be open to
                                                     21
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 1                  sentencing that would not further destroy a person of good
 2                  character, Dan Flint would be such an individual worthy of
 3                  such consideration.
 4
 5           Further recognition of Mr. Flint's good character and selfless generosity is
 6     provided by William Schmidt, now retired from the Michigan Dept of Natural
 7     Resources, the same agency as Keith Creagh, who has been a friend of Flint's father
 8     since their college days over fifty years ago. Mr. Schmidt speaks with warm praise for
 9     Flint’s character as he has “had the unique opportunity to watch Dan grow and
10     mature into adulthood(,)” and speaks of Flint with a fatherly warmth:24
11
12                  I am the father of a 36 year-old son, myself, and understand
13                  the blessings children bring, as well as the fatherly
14                  responsibility necessary to encourage proper behavior,
15                  adherence to societal rules and regulations, the appreciation
16                  of human relationships and the importance of providing
17                  sound guidance and strong support during their growth into
18                  adulthood. Subsequently, I know a 'good-kid' as opposed to
19                  a ‘not-so-good kid’ by their behavior and the decisions they
20                  make during various situations. Dan has always exhibited
21                  confidence, capability, compassion and respect over the
22                  course of our relationship. In short, he's a ‘good-kid.’
23
24           Like everyone else who has submitted a letter, knowing the offense conduct that
25     brings Flint before this Court for sentencing, Mr. Schmidt’s letter reaffirms his respect
26     and confidence in Flint’s good character:
27
28      24
             Exhibit P.

                                                   22
     Case 2:17-cr-00697-SJO Document 157 Filed 08/21/19 Page 23 of 31 Page ID #:2402



 1                  Let the record show that I believe Dan to be honorable,
 2                  diligent, law-abiding, competent, capable, cooperative and
 3                  compassionate.
 4
 5           Mr. Schmidt’s praise is echoed by Jack Knorek, a family friend who has known
 6     Flint since he was eleven years old and whose personal background includes serving as
 7     a Peace Corps volunteer. Mr. Knorek’s letter speaks with genuine warmth of Mr.
 8     Flint’s good character:25
 9
10                  It has been a genuine pleasure watching him grow, from
11                  adolescence through adulthood, into the fine young man he
12                  is today. He is kind and caring, with a quick wit that belies
13                  genuine compassion for his fellow man and a deep
14                  understanding of the human condition.
15
16           Mr. Knorek’s letter reflects the shock expressed in many letters regarding the
17     circumstances of this prosecution, and he highlights the deep remorse that Mr. Flint
18     has felt in regard to his conduct and the consequences this has on his career as a
19     lawyer:
20
21                  Danny takes full responsibility for his action, and he deeply
22                  regrets it, now knowing what he did was a violation of
23                  Federal law. He admits the worst part of this entire incident
24                  is he is no longer able to pursue his calling, to practice law
25                  and serve as an officer of the court.
26
27
28      25
             Exhibit Q.

                                                   23
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 1            Another long-term friend of the family, Michael DiBernardo, who worked with
 2     Mr. Flint's father at the Michigan Dept of Agriculture where Flint himself had worked
 3     (see letter from Keith Creagh), praises Flint's personal character:26
 4
 5                   Dan is a great young man that is very connected to his
 6                   friends and family, demonstrates honesty in all areas of his
 7                   life, and became a lawyer to ensure justice for others.
 8
 9            Mr. DiBernardo likewise speaks with praise in regard to the way Flint
10     conducted himself as a young attorney:
11
12                   I have had the opportunity to work with Dan on a
13                   professional level while I was the Economic Development
14                   Specialist for the Michigan Department of Agriculture. Dan
15                   contacted me to discuss a client that was interested in
16                   purchasing Michigan products and exporting these products
17                   to his client's country. During this time of gathering
18                   information and working within the Agri-businesses in
19                   Michigan, Dan always was professional, acted with the
20                   highest integrity, and upmost respect.
21
22            Lynne Hendricks, another long-term family friend who has known Mr. Flint his
23     entire life, provides further affirmation of Flint's upbringing in a family of educators
24     with solid values:27
25
26
         26
27            Exhibit R.

28       27
              Exhibit S.

                                                   24
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 1                  I’ve had the pleasure as a family friend of watching Daniel
 2                  Flint grow and develop into a fine young man from birth to
 3                  today. Dan was raised in a loving family to be a good
 4                  Christian with a moral compass. He has always exhibited a
 5                  zest for life and a charismatic personality. I have found him
 6                  to be a kind and caring individual who wants to make a
 7                  difference in the world.
 8
 9           Moreover, Ms. Hendricks joins other family friends in affirming her respect for
10     Mr. Flint and confidence that he will lead a law-abiding and responsible life:
11
12                  I have no doubt Dan has learned valuable life lessons from
13                  this situation. In the future he will use due diligence to insure
14                  that he is not violating any laws. He will be less trusting and
15                  more vigilant. He has so much to offer others and I’m
16                  confident he will find a way to do so.
17
18           Suzanne Steele, an educator who worked with Flint's mother as a teacher for
19     two decades, emphasizes her confidence in Flint's good character with these words:28
20
21                  The Dan Flint I know would never knowingly do anything to
22                  jeopardize his law license which he has worked so hard to
23                  achieve. I know he would never intentionally hurt his family
24                  or his reputation.
25
26
27
28      28
             Exhibit T.

                                                   25
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 1            Shirley Bergman, a public school teacher who has known the family for over
 2     forty years and has known Flint his entire life as an “unofficial aunt,” writes with
 3     unwavering confidence about Flint’s good character despite the events in this case,
 4     concluding on a strong note:29
 5
 6                   Personal responsibility was always in the forefront. If
 7                   something went wrong, his [Flint’s] choice was to fix it, and
 8                   in a positive way. I would trust Daniel C. Flint with my life.
 9
10            The same confidence in Flint’s ability to exercise good judgment in the future
11     and maintain a responsible, law-abiding lifestyle is conveyed in the letter from Eric
12     and Joyce Olson who, like many friends of the family, have known Mr. Flint his entire
13     life and remain committed to their view of Flint as a man of good character and
14     integrity, notwithstanding the events in this case:30
15
16                   When Dan realized that following the instructions he was
17                   given, was not within the law, he terminated his relationship
18                   [with his law professor]. Dan will not be so trusting again.
19                   He would never intentionally break the law.
20
21                   Dan should be allowed to continue to practice law. He will do
22                   so with integrity.
23
24            Taken together, the supporting letters attached hereto emphasize the
25     uncharacteristic nature of Mr. Flint’s offense conduct and underscore the essential
26
         29
27            Exhibit U.

28       30
              Exhibit V.

                                                   26
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 1     point that he is not a deceitful person. Quite to the contrary, these letters confirm that
 2     the events of this case are situational in nature and do not reflect a fraudulent
 3     disposition. The enduring support shown in the enclosed letters, coupled with Flint's
 4     excellent compliance on bond for these past two years, demonstrate that he is an
 5     excellent candidate to fulfill his commitments to the Court in a non-custodial sentence
 6     that includes home detention and community service.
 7
 8
 9                  (2)    Mr. Flint Openly Disclosed To Family And Friends That He Had
10                         Been Appointed As A Diplomat, Which Raises Mitigating
11                         Considerations Regarding Mr. Flint's Naive And Misguided Belief
12                         Regarding The Legality Of His Actions
13
14           Several of the letters from family and friends to this Court describe the moment
15     in time when Flint announced that he had been appointed as a diplomatic courier (or
16     so he thought), and how everyone was happy for him. Query whether someone who
17     actually believed he was committing a crime would have openly disclosed this,
18     especially to family and friends who have known him for many years, or in some cases,
19     all his life, and who themselves are deeply committed to moral standards.
20           For example, Mr. DiBernardo describes Flint’s open enthusiasm about serving
21     as a diplomatic courier, something that Flint openly shared with family and friends:31
22
23
24
25
26
27
28      31
             Exhibit R.

                                                   27
     Case 2:17-cr-00697-SJO Document 157 Filed 08/21/19 Page 28 of 31 Page ID #:2407



 1                  On many occasions, Dan has expressed his excitement about
 2                  the opportunity that he was being appointed as a
 3                  "diplomatic courier and general counsel" for the
 4                  International Human Rights Commission. He stated he was
 5                  honored given this opportunity to work alongside his college
 6                  law professor, mentor, and friend Mr. Doug Hampton.
 7
 8           Similarly, Keith Creagh commented about the moment Mr. Flint made the
 9     announcement:32
10
11                  I will not forget when we were "at camp" in the Upper
12                  Peninsula of Michigan and Dan announced that he had
13                  received diplomatic credentials. It was evident that he was as
14                  proud of that achievement as we were of him.
15
16           Referencing the same camp event, the letter from William Schmidt echoes the
17     comments by Mr. Creagh in the way everyone was pleased at Flint’s announcement of
18     his work for the IHRC:33
19
20                  At more recent fishing and hunting camps, I, along with our
21                  usual father/son crew members, were especially proud of
22                  Dan's appointment/designation as a diplomat as part of his
23                  duties relative to IHRC. We celebrated and applauded his
24                  accomplishment for, in reality, his accomplishment was an
25                  answer to my personal prayer for his success.
26
        32
27           Exhibit O.

28      33
             Exhibit P.

                                                 28
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 1            Flint made the announcement to his parents as well, as noted in the letter from
 2     his father, Timothy Flint:34
 3
 4                    When Danny received the diplomatic credential around the
 5                    time he was at camp with his and my friends, we were as
 6                    proud of Danny as he was.
 7
 8            The letter from Flint’s mother, Gayle Flint, also reflects the announcement by
 9     Flint:35
10
11                    When I met Mr. Hampton, and the few occasions I was with
12                    him, I found him to be friendly and charismatic. I really
13                    knew about him mainly through conversations with Dan.
14                    Daniel always spoke of Doug Hampton with the highest
15                    regard beginning when he was a trusted teacher and mentor
16                    and growing into a trusted colleague and friend. When the
17                    International Human Rights Commission position was
18                    offered, and accepted by Dan, it was one of the proudest
19                    moments of both of our lives. Once again, Mr. Hampton
20                    became a trusted teacher as Daniel performed his duties for
21                    the IHRC-continuously reassuring him that everything he
22                    did as a courier was within full compliance of the law.
23
24
25
26
         34
27            Exhibit I.

28       35
              Exhibit J.

                                                   29
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 1           The letter from Jack Knorek likewise recounts the time when Flint told him of
 2     the new position:36
 3
 4                  As such, and recalling my service as a Peace Corps
 5                  Volunteer, I was pleased beyond description when he [Daniel
 6                  Flint] told me he was working on a part-time basis for the
 7                  International Human Rights Commission.
 8
 9           While the jury has spoken, and its verdict controls, the references quoted above
10     to Flint's open and enthusiastic disclosures to family and friends regarding what he
11     believed was a diplomatic assignment raises important questions as to what he
12     genuinely believed at the time he undertook the activities involved in this case.
13     Generally, one does not enthusiastically tell their family and close friends about a new
14     venture if they believe in their heart of hearts that what they are doing is a crime,
15     particularly in a family like Flint’s which is anchored in strong moral values.
16
17
18                  (3)      Mr. Flint Faces Serious Collateral Consequences From His
19                           Conviction Insofar As He Will Likely Lose His Licenses To
20                           Practice Law In Michigan And North Carolina
21
22           Mr. Flint has fulfilled his obligation to notify the state bars in Michigan and
23     North Carolina, where he is licensed, regarding the conviction in this case. He will
24     likely face disbarment proceedings. The shattering impact of losing one’s legal career
25     and having to start over in life, after having worked so hard for so many years, invites
26     compassion at sentencing in favor of a probationary sentence. It is heart-wrenching to
27
28      36
             Exhibit Q.

                                                   30
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 1     read the many letters submitted to this Court that speak to the family’s pride in seeing
 2     Mr. Flint become an attorney, and their respect for his commitment to help others;
 3     only to see it lost as the result of the events in this case, particularly where the offense
 4     conduct falls under a criminal statute that is rarely applied by federal prosecutors.
 5            The predictable loss of Mr. Flint’s license should be factored into the totality of
 6     mitigating considerations that weigh strongly in favor of a probationary sentence.
 7
 8
 9                                                  IV.
10                                           CONCLUSION
11
12            For the reasons discussed herein, Mr. Flint respectfully asks this Court to
13     impose a sentence of probation, with conditions of home detention and community
14     service, as being sufficient, but not greater than necessary, to fulfill the statutory
15     purposes of sentencing under 18 U.S.C. 3553. As Mr. Flint has qualified for indigent
16     representation by the FPD and CJA, fines should be waived.
17
18     DATED: August 21, 2019                             Respectfully Submitted,
19
20                                                        By:__________/S/_________
21                                                        GREGORY NICOLAYSEN
                                                          Counsel for Defendant,
22                                                        Daniel Flint
23
24
25
26
27
28

                                                    31
